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                                        #:316

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       THAT ONE VIDEO ENTERTAINMENT, LLC, a
   7   California limited liability company
   8
                             UNITED STATES DISTRICT COURT
   9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11   THAT ONE VIDEO                            CASE NO: 2:23-cv-02687 CAS (JCx)
       ENTERTAINMENT, LLC, a
  12   California limited liability company,
                                                 [Assigned to the Hon. Stephen V. Wilson;
  13                Plaintiff,                    Ctrm 10A]
          vs.
  14
       KOIL CONTENT CREATION PTY                 DECLARATION OF DANIEL TRACEY
  15   LTD., an Australian proprietary           IN SUPPORT OF PLAINTIFF’S MOTION
       limited company doing business as         TO QUASH, OR, IN THE
  16   NOPIXEL; MITCHELL CLOUT, an               ALTERNATIVE, FOR A PROTECTIVE
       individual; and DOES 1-25, inclusive,     ORDER
  17
                   Defendants.                   Hearing:
  18                                             Judge: Hon. Jacqueline Chooljian
                                                 Date: September 10, 2024
  19                                             Time: 9:30 a.m.
                                                 Place: Ctrm 750, 255 East Temple Street,
  20                                                    Los Angeles, California, 90012
  21                                             Action Filed: April 10, 2023
                                                 Trial Date: September 17, 2024
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          DECLARATION OF DANIEL TRACEY IN SUPPORT OF PLAINTIFF’S
         MOTION TO QUASH, OR, IN THE ALTERNATIVE, FOR A PROTECTIVE
                                   ORDER
         Case 2:23-cv-02687-SVW-JC   Document 50-1    Filed 08/08/24   Page 2 of 3 Page ID
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 1                          DECLARATION OF DANIEL TRACEY
2          I, Daniel Tracey, declare and state as follows:
 3         1.      I am an individual currently residing in the Cotmty of Mo..r·,co P°'- ,
4    State of Arizona, and am over 18 years of age. I know all of the following facts of my
 5   own personal knowledge and, if called upon and sworn as a witness, could and would
 6   competently testify thereto.
 7         2.      At all relevant times during my work for Defendants KOIL CONTENT
 8   CREATION PTY LTD., an Australian proprietary lilnited company doing business
 9   as NOPIXEL (''NoPixer''), and MITCHELL CLOUT, an individual (''Clout")
10   (collectively, "Defendants'') I worked remotely.
11         3.      As part of 1ny employment with [Plaintiff], I would spend a portion of
12 my titne streaming 1nyself rendering development services (i.e., coding) on the
13 videogame server operated by Defendant NoPixel that hosted the "open world"
14 videogame entitled "Grand Theft Auto V'' (the ''NoPixel Server"). I know that I
15   stated in my deposition that in the fourth quarter of 2021 specifically, I streamed
16   approximately 25 to 40 hours a week, but I also testified that in May of 2021, I was
17   only streaining a few hours a week. This is because the amount I would stream on
18   any given week could and would vary.
19         I declare under penalty of perjury under the laws of the State of California that
20   the f oregoi11gis true and correct, and that this Declaration was executed on August
21   <6',2024, at V V\ o e v'\·\ K                   , Arizona.

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                                                             DANIEL TRACEY
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        DECLARATION OF DANIEL TRACEY IN SUPPORT OF PLAINTIFF,S
       MOTION TO QUASH ..OR ..IN THE ALTERNATIVE ..FOR A PROTECTIVE
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 1                                  PROOF OF SERVICE
 2                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3   I am employed in the County of Los Angeles, State of California. I am over the age
     of eighteen years and not a party to the within action; my business address is 9454
 4   Wilshire Blvd, Suite 825, Beverly Hills, CA 90212.
 5   On August 8, 2024, I served the documents described as:
 6   PLAINTIFF’S MOTION TO QUASH, OR, IN THE ALTERNATIVE, FOR A
     PROTECTIVE ORDER; MEMORANDUM OF POINTS AND AUTHORITIES;
 7   DECLARATION OF JOHN BEGAKIS IN SUPPORT THEREOF
 8   DECLARATION OF BENJAMIN LAU IN SUPPORT OF PLAINTIFF’S
     MOTION TO QUASH, OR, IN THE ALTERNATIVE, FOR A PROTECTIVE
 9   ORDER
10   DECLARATION OF DANIEL TRACEY IN SUPPORT OF PLAINTIFF’S
     MOTION TO QUASH, OR, IN THE ALTERNATIVE, FOR A PROTECTIVE
11   ORDER
12   [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION TO QUASH, OR,
     IN THE ALTERNATIVE, FOR A PROTECTIVE ORDER
13
     on all interested parties in this action by placing ____ the original _X_a true copy
14   thereof enclosed in sealed envelope(s) addressed as follows:
15   Larry Zerner, Esq.
     MORRISON COOPER LLP
16   10900 Wilshire Blvd., Suite 930
     Los Angeles, CA 90024
17   larry@morrisoncooper.com
     Keith@morrisoncooper.com
18   Kat@morrisoncooper.com

19   [X]: BY ELECTRONIC MAIL:

20          As follows: I hereby certify that I served the above-described document on the
     interested parties in this action by attaching an electronic copy of the document to an
21   email addressed to the parties listed below at their most recent e-mail address of
     record in this action. I did not receive, within a reasonable time after the
22   transmission, any electronic message or other indication that the transmission was
     unsuccessful.
23   [X]: (FEDERAL) – I declare that I am employed in the office of a member of the
24
     bar of this court at whose direction the service was made.

25
           I declare under penalty of perjury that the foregoing is true and correct.

26
           EXECUTED on August 8, 2024, in Los Angeles, California.

27
                                                   ___________________
                                                   John Begakis
28
                                     PROOF OF SERVICE
